          Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 1 of 9




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 12-399V
                                      Filed: January 10, 2014
                                        Not for Publication


*************************************
GARY R. POLING, on Behalf of J.T.P.,         *
                                             *
               Petitioner,                   *
                                             *            Damages decision based on stipulation;
v.                                           *            flu vaccine; Idiopathic Thrombocytopenic
                                             *            Purpura
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
                                             *
*************************************
Anne C. Toale, Sarasota, FL, for petitioner.
Traci R. Patton, Washington, DC, for respondent.


MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

        On January 10, 2014, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner, on behalf of his son, alleges that J.T.P.
suffered injuries that were caused by his September 26, 2011 receipt of influenza (“flu”) vaccine.
He alleges that J.T.P. sustained the first symptom or manifestation of his injury within two weeks
of his immunization, developed Idiopathic Thrombocytopenic Purpura (“ITP”) as sequela of this
injury, and experienced the residual effects of this injury for more than six months. Respondent
denies that flu vaccine caused J.T.P’s ITP and denies that J.T.P. experienced the residual effects of

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to delete such information prior to the document’s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
delete such material from public access.
          Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 2 of 9



any injury for more than six months. Nonetheless, the parties agreed to resolve this matter
informally.

        The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards:

        a. a lump sum of $25,000.00. The award shall be in the form of a check for $25,000.00
           made payable to petitioner as guardian/conservator of the estate of J.T.P., for the
           benefit of J.T.P. No payments shall be made until petitioner provides respondent with
           documentation establishing that he has been appointed as the guardian/conservator of
           J.T.P.’s estate; and

        b. a lump sum of $6,000.00, which amount represents compensation for past
           unreimbursable expenses. The award shall be in the form of a check for $6,000.00
           made payable to petitioner; and

        c. an amount sufficient to purchase the annuity contract described in paragraph 10 in the
           attached stipulation. The award shall be in the form of a check made payable to the
           life insurance company from which the annuity will be purchased.

       The amounts set forth in paragraphs 8.a. and 8.b. represent compensation for all damages
that would be available under 42 U.S.C. § 300aa-15(a) (2012). In the absence of a motion for
review filed pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment
herewith.2


IT IS SO ORDERED.


Dated: January 10, 2014                                                            s/ Laura D. Millman
                                                                                      Laura D. Millman
                                                                                       Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 3 of 9
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 4 of 9
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 5 of 9
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 6 of 9
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 7 of 9
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 8 of 9
Case 1:12-vv-00399-UNJ Document 39 Filed 01/10/14 Page 9 of 9
